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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                              (NORTHERN DIVISION)

BLUEBELL BUSINESS LIMITED,                   *

       Plaintiff/Counter-Defendant,          *
                                             *      Civil Case No. 1:17-CV-02150-RDB
v.
                                             *
MICHAEL JONES,
                                             *
       Defendant/Counter-Plaintiff.

       *       *      *      *       *       *      *       *       *      *       *

                                 NOTICE OF APPEARANCE

       Christopher J. Lyon hereby respectfully requests that the Clerk note the entry of his

appearance on behalf of Plaintiff/Counter-Defendant Bluebell Business Limited.


Dated: October 16, 2018                                     Respectfully submitted,



                                                            /s/ Christopher J. Lyon
                                                            Christopher J. Lyon (Bar No. 27443)
                                                            Simms Showers LLP
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of October, 2018, I caused the foregoing Notice of

Appearance to be filed on this Court’s CM/ECF system for service on all counsel of record and I

also e-mailed and served a copy via first-class mail, postage prepaid, on:

                                      Michael Jones
                                      1455 Pennsylvania Avenue, NW
                                      Suite 400
                                      Washington, DC 20004
                                      mikebroadband@gmail.com

                                      Pro se Defendant


                                                             /s/ Christopher J. Lyon
                                                             Christopher J. Lyon (Bar No. 27443)




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